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5
     Attorney for Plaintiff JONATHAN ZUBIN
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8
                            UNITED STATES DISTRICT COURT
9
                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
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12   JONATHAN ZUBIN, on behalf of himself and Case No.: 4:21-cv-07478-DMR
     all others similarly situated,
13                                            NOTICE OF PARTIAL VOLUNTARY
                                              DISMISSAL
14
                              Plaintiff,
15
                 v.
16
     COINBASE, INC.
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                        Defendant.

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                           NOTICE OF PARTIAL VOLUNTARY DISMISSAL
                                  CASE NO.: 4:21-CV-07478-DMR
              Case 4:21-cv-07478-DMR Document 10 Filed 11/03/21 Page 2 of 2



1           Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), and to the extent this
2    dismissal is necessary in light of Plaintiff’s operative First Amended Complaint, Plaintiff
3    Jonathan Zubin hereby voluntarily dismisses this action without prejudice as to originally
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     named Defendants Coinbase Global, Inc., Phillip Martin, and Matthew Muller.
5
            Plaintiff’s existing action against named Defendant Coinbase, Inc., is not affected by this
6
     dismissal.
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     Dated: November 3, 2021                      LAW OFFICE OF MATTHEW D. CARLSON
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11
                                                          By: _/S/ Matthew D. Carlson__ ______
12                                                           Matthew D. Carlson
13                                                           Attorney for Plaintiff

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                               NOTICE OF PARTIAL VOLUNTARY DISMISSAL
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                                      CASE NO.: 4:21-cv-07478-DMR
